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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF GEORGIA
                                  MACON DIVISION

                                                 :
UNITED STATES OF AMERICA                         :
                                                 :
      v.                                         : CASE NO. 5:22-CR-09-3 (CAR)
                                                 :
JOHNIFER DERNARD BARNWELL,                       :
a/k/a "Whoop", a/k/a "Malixe"                    :
                                                 :
           Defendant                             :
                                                 :


                          PRELIMINARY ORDER OF FORFEITURE

           WHEREAS, on October 2, 2023, Defendant Johnifer Dernard Barnwell, a/k/a

  "Whoop", a/k/a "Malixe" (hereinafter “Barnwell” or “Defendant”), was found guilty by

  a jury as to Count One, and Counts Ten through Fourteen of the Indictment charging him

  with Conspiracy to Possess with Intent to Distribute Controlled Substances, in violation

  of Title 21, United States Code, Sections 841(a)(l) and 841(b)(1)(A)(i), (vi), and (viii); all in

  violation of Title, 21, United States Code, Section 846; Possession with Intent to Distribute

  Fentanyl (N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl) propenamide in violation of

  Title 21, United States Code, Sections 841(a)(l) and 841(b)(1)(A)(vi); Possession with Intent

  to Distribute Methamphetamine in violation of Title 21, United States Code, Sections

  84l(a)(l) and 84l(b)(l)(A)(viii); Possession with Intent to Distribute p-Fluorofentanyl, a

  Fentanyl Analogue in violation of Title 21, United States Code, Sections 841(a)(l) and

  841(b)(l)(A)(vi); Possession with Intent to Distribute Cocaine Base in violation of Title 21,

  United States Code, Sections 841(a)(1) and 841(b)(1)(A)(iii); and Possession with Intent to
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Distribute Heroin in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(A)(i);

       AND WHEREAS, the Indictment contained a generic Forfeiture Notice, pursuant

to which the United States seeks forfeiture under Title 21, United States Code, Section

853, of specific property constituting, or derived from, any proceeds obtained, directly

and indirectly, as a result of such offense(s), and any property, real or personal, used, or

intended to be used in any manner or part to commit, or to facilitate the commission of,

the offense(s);

        AND WHEREAS, the Court has determined, based on the evidence already in the

record, that (1) Defendant has an ownership interest in the following subject property; (2)

that the following property is subject to forfeiture pursuant to 21 U.S.C. § 853; and (3) that

the United States has established the requisite nexus between the aforesaid offense(s) and

the following property, to wit:

        FIREARM/MAGAZINE/AMMUNITION

       A.     One (1) Ruger, Model: LC9S, 9mm pistol, Serial Number: 453-41613, with a black

              holster and magazine containing approximately one (1) round of ammunition;

       B.     One (1) box of 9mm ammunition; and

       C.     Twenty-seven (27) rounds of Luger 9mm ammunition.

       NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED

THAT:




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       1.     Pursuant to 21 U.S.C. § 853, 18 U.S.C. § 3554, and Rule 32.2(b), Federal Rules

of Criminal Procedure, the Court finds by a preponderance of the evidence that the

United States has demonstrated the required nexus between the subject property and the

offense(s) of conviction and the subject property is hereby forfeited to the United States.

       2.     Upon the entry of this Order, in accordance with FED. R. CRIM. P. 32.2(b)(3),

the Attorney General (or a designee) is authorized to seize the subject property, and to

conduct any discovery that may assist in identifying, locating or disposing of the subject

property, and to commence any applicable proceeding to comply with statutes governing

third-party rights, including giving notice of this Order.

       3.     The United States shall publish notice of the Order and its intent to dispose

of the subject property in such a manner as the United States Attorney General (or his

designee) may direct. The United States may also, to the extent practicable, provide

written notice to any person known to have an alleged interest in the subject property.

       4.     Any person, other than the above-named Defendant, asserting a legal

interest in the subject property must, within thirty (30) days after receipt of notice, or no

later than sixty (60) days from the first day of publication on the official internet

government forfeiture site, www.forfeiture.gov, whichever is earlier, petition the Court for

a hearing without a jury to adjudicate the validity of his alleged interest in the subject

property, and for an amendment of the Order of Forfeiture, pursuant to 21 U.S.C. ' 853(n).




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       5.     Pursuant to FED. R. CRIM. P. 32.2(b)(4), this Preliminary Order of Forfeiture

shall become final as to the Defendant at the time of sentencing and shall be made part of

the sentence and included in the judgment. If no third-party files a timely claim, this

Order shall become the Final Order of Forfeiture, as provided by FED. R. CRIM. P.

32.2(c)(2).

       6.     Any petition filed by a third-party asserting an interest in the subject

property shall be signed by the petitioner under penalty of perjury, and shall set forth the

nature and extent of the petitioner=s right, title or interest in the subject property, the time

and circumstances of the petitioner=s acquisition of the right, title or interest in the subject

property, any additional facts supporting the petitioner=s claim and the relief sought.

       7.     After the disposition of any motion filed under FED. R. CRIM. P. 32.2(c)(1)(A)

and before a hearing on the petition, discovery may be conducted in accordance with the

Federal Rules of Civil Procedure upon a showing that such discovery is necessary or

desirable to resolve factual issues.

       8.     The United States shall have clear title to the subject property following the

Court=s disposition of all third-party interests, or if none, following the expiration of the

period provided in 21 U.S.C. ' 853(n), for the filing of third-party petitions.

       9.     The Court shall retain jurisdiction to enforce this Order, and to amend it as

necessary, pursuant to FED. R. CRIM. P. 32.2(e).




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      SO ORDERED, this 2nd day of January, 2024.



                                 S/ C. Ashley Royal
                                 C. ASHLEY ROYAL, SENIORJUDGE
                                 UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF GEORGIA



PREPARED BY:

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